            Case: 1:20-cr-00077-TSB Doc #: 54 Filed: 08/26/20 Page: 1 of 1 PAGEID #: 1385
AO456 (Rev. 5/85) Notice


                                                              United States District Court

                                           SOUTHERN                                    DISTRICTOF                          OHIO

       UNITED STATES OF AMERICA                                                                    NOTICE
                                V.
                                                                                     CASENUMBER: 1:20-cr-77

              LARRY HOUSEHOLDER,                                                     (J. Black)




 TYPEOFCASE

                                               CIVIL                                   CRIMINAL

 TAKENOTICEthat a proceedingin this case has been set for the place, date, and time set forth below:


 PLACE                                                                                                     ROOM NO.
 Potter Stewart U.S. Courthouse                                                                            Video-conferencing
 100 East Fifth Street                                                                                     DATE AND TIME
 Cincinnati, Ohio 45202

 Initial Appearance and Arraignment on Indictment before the Honorable Stephanie K. Bowman, U.S.
 Magistrate Judge

    TAKENOTICEthat the proceedingin this case has been continued as indicated below:


 PLACE                                                       DATE AND TIME PREVIOUSLY SCHEDULED            RESET TO, DATE AND TIME
 Potter Stewart U.S. Courthouse
 100 East Fifth Street                                                                                     9/3/2020 at 1:30 PM
 Cincinnati, Ohio 45202




 August 26, 2020                                                                       RICHARD W. NAGEL
 Date                                                                                  U S Magistrate or Clerk of Court

                                                                                        s/Arthur Hill
                                                                                       (BY) DEPUTY CLERK

 To: David H. Thomas (retained)


            CC: U.S. Pretrial Services
            U.S. Probation
            U.S. Marshal’s Office
            U.S. Attorney’s Office (Emily Glatfelter, AUSA)

     NOTE: It is the responsibility of Counsel to notify their clients.
